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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


ROADGET BUSINESS PTE. LTD., a private
limited company organized in the country of
Singapore,

                           Plaintiff,                      CIVIL ACTION NO. 1:23-cv-16262

          v.                                               Judge: Hon. Jeffrey I. Cummings

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO

                           Defendants.


    DEFENDANTS’ UNOPPOSED EMERGENCY MOTION TO MODIFY ASSET FREEZE
    PENDING RULING ON PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION 1

          Defendants move the Court to modify the TRO (ECF No. 12) by reducing the asset freeze

to each of the Defendants’ gross sales revenue from the accused products until Plaintiff’s Motion

for PI (ECF No. 21) is resolved. Plaintiff does not oppose this emergency motion.

          1.      The asset freeze in the TRO issued on Dec. 5, 2023 is indefinitely freezing “any

money or other [] assets in any of Defendants’ financial accounts.” ECF No. 12 at ¶ 2; see also id.

at ¶ 6(b) (requiring third parties to “restrain and enjoin any such accounts or funds from transferring

or disposing of any money or other of Defendants’ assets until further order by this Court”).

          2.      In response to the TRO, third-party Temu, the e-commerce platform on which the

accused products were sold, produced data showing: (1) the Defendants’ gross sales revenue from



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    This Motion is submitted by the Opposing Defendants listed in footnote 1 at ECF No. 38.


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the accused products (in the aggregate, $379,694.49), and (2) the extent of the freeze on Defendants’

assets (in the aggregate, $1,890,223.55). See ECF No. 38-04 at ¶ 9, Ex. V. For ease of reference,

below is a table showing each of the Defendants’ gross sales revenue from the accused products, as

reflected in Temu’s sales data.

                       Defendant Numbers and Names                                 Gross Sales
                                                                                    Revenue
 Nos. 1, 2 – Guangzhou Blackbeard Media Co., LTD. dba Onepeace and Zoro A             $195,895.93
 No. 3 – Guangzhou Chengfeng Garment Co., Ltd. dba Yestoday Once More                   $1,375.34
 No. 4 – Guangzhou Dexian Clothing Co., Ltd. dba Zero Series                            $2,133.00
 No. 5 – Guangzhou Tianhe District Shahe Jinyu Clothing Store dba Perfect Man             $130.22
 No. 6 – Puning Liding Trading Co., Ltd. dba Saloni                                   $130,445.45
 No. 7 – Guangzhou Tianhe District Shahederan Clothing Store dba Eurolaton              $7,894.69
 No. 8 – Guangzhou Dayinfang Digital Trading Co., Ltd. dba Mus Tang                        $10.22
 No. 10 – Peiwen Luo dba Bear Best                                                        $198.45
 No. 11 – Foshan City Chancheng District Danjinjie Clothing Factory dba Dan            $13,489.22
 Jinjie Clothing Factory
 No. 12 – Foshan Jiayuanning Children’s Clothes Co., Ltd. dba Happy Girl                   $121.35
 Clothes
 No. 14 – Guangzhou City Baiyun District Dayuanxinze Clothing Store dba                    $178.90
 Haccefe
 No. 17 – Yijun Wu, dba Heimananzhuangdian                                                 $494.05
 No. 18, 22, 26 – Shenzhen Kaiheng Qianse Clothing Co., Ltd. dba Good Boy               $14,129.81
 Boy, Fighter Planes, and Zero A
 No. 20 – Shilumei Apparel (Guangzhou) Co., Ltd. dba Mens Prince                        $ 13,108.46
 No. 23 – Yaying Chen dba Pixie Babies                                                       $23.81
 No. 24 – Xiamen Qizhouda E-commerce Co., Ltd. dba Qgirlcloth                                $65.59
 No. 25 – Guangzhou Huitingwang E-commerce Co., Ltd. dba Because of U                            $0
 No. 28 – Guangzhou City Baiyun District Dayuan Pengda Clothing Store dba                    $64.90
 Liushixiongdi
 No. 29 – Guangzhou Zuowei Clothing Co., Ltd. dba Step Men Clothing                      $7,640.04
 Totals                                                                                $379,694.49

       3.      Defendants filed their opposition to Plaintiff’s Motion for PI on Jan. 23, 2024,

raising several grounds for opposition, including that the asset freeze is overly broad in that it is

freezing Defendants’ funds well in excess of the gross sales revenue at issue ($1,890,223.55 frozen

versus $379,694.49 in sales revenue), even putting aside the larger disparity between the amount

frozen and the net profits from the accused products ($36,894). See ECF No. 38 at 16. The harm to

Defendants due to the indefinite asset freeze is extensive. It is preventing them from deriving any



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revenue at all from the sale of products that are not accused of infringement (which is their source

of income and cash flow). As a result, Defendants are struggling to make payroll and pay their

suppliers, which is irreparably disrupting their business partnerships, employee relationships, and

their reputations. Some Defendants already had to lay off hundreds of employees. Id. at 11–13.

       4.      Moreover, on Feb. 27, 2024, third-party Temu made a supplemental production of

data, reflecting a substantial increase in the amount frozen in Defendants’ Temu accounts, further

exacerbating the disproportion between the asset freeze and the amount at issue. For context, the

reason that the frozen fund amount has increased (and likely will increase perpetually if the asset

freeze remains unchanged) is because the Defendants continue to sell unaccused products on Temu,

and thus continue to receive sales revenue in their Temu accounts. However, because the TRO asset

freeze covers all funds in any accounts, the new sales revenue is frozen the moment it is received

in the Defendants’ Temu accounts, thus perpetually increasing the amount frozen in the accounts.

       5.      Thus, Defendants respectfully request that the Court issue the Proposed Order

submitted via email per the Court’s procedures modifying the asset freeze from its current scope to

reflect a freeze only on the gross sales revenue for each Defendant (as detailed above) until

resolution of Plaintiff’s Motion for PI.


Dated: February 28, 2024                             Respectfully Submitted,

                                                  /s/____Christopher J. Fahy_________




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